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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

USA                                         §
                                            §
vs.                                         §    Case Number: SA:19-M -00131(1)
                                            §
(1) Benjamin Bogard                         §


                       ORDER SETTING DETENTION HEARING


IT IS HEREBY ORDERED that the above entitled and numbered case is set for Thursday,
February 21, 2019 at 02:00 PM, in Courtroom C, on the 4th Floor in the John H. Wood, Jr.
United States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX .

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 19th day of February, 2019.



                                            ______________________________
                                            HENRY J. BEMPORAD
                                            UNITED STATES MAGISTRATE JUDGE
